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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                  Plaintiff,                )                    4:10CR3085
                                            )
           v.                               )
                                            )
FABIAN ANTILLON-ESTRADA,                    )         MEMORANDUM AND ORDER
                                            )
                  Defendant.                )
                                            )


     IT IS ORDERED:

     1)    The defendant’s oral motion for temporary release, (filing no. 173), is granted.

     2)    On November 22, 2011, the Marshal shall release the defendant to attorney Raul F.
           Guerra, or to the defendant’s counsel of record, Carlos Monzon, for transport to the
           defendant’s immigration hearing in Omaha, Nebraska. Defendant Fabian Antillon
           shall be available for pickup at the Lincoln Federal Building by no later than 8:15
           a.m. on November 22, 2011, and the defendant shall be returned to the Marshal’s
           custody at the Lincoln Federal Building by no later than 2:30 p.m. that same day.

     3)    Attorney Raul F. Guerra, or the defendant’s counsel of record, Carlos Monzon, shall
           provide all transportation for defendant Fabian Antillon and shall accompany the
           defendant at all times during his temporary release on November 22, 2011.

     DATED this 18th day of November, 2011.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge
